Case 7:O7-oV-00192-HL Dooument 266 Filed 01/23/12 Page 1 of 2

IN THE UN|TED STATES DlSTRlCT COURT
FOR THE MlDDLE DlSTRlCT OF GEORG|A
VALDOSTA DlVlS|ON

THE B & F SYSTEM, |NC.,
Piaintiff,

V.

LLOYD J. LEBLANC JR., MAXAM
WHOLESALE OF ATLANTA, |NC., DlRECT
SOURCE lMPORTS, |NC., ARTHUR JEFFREY
LEBLANC, LLOYD LEBLANC, lll, PRODUCTOS
MEX|CANOS DON JOSE, |NC., LEBLANC’S
LLC, and EDNA G. LEBLANC,

Defendants.

 

 

Civi| Action No. 7:07-CV-192 (HL)

JA§§§ §§@§2

   

§§N new m §§
§§ t§)s;)t§z o 36 jim mm §§§§§§H`

…§i§§ §§ §§EG mm

SPEC|AL INTERROGATOR|ES TO THE JURY - PHASE l

1. Was there a partnership between Lioyd J. LeB|anc Jr., L|oyd J. (“Jody") LeB|anc ||i,

and Arthur Jeffrey (“Jeff”) LeB|a/n?
YES

NO

if you answered NO to Question 1, please answer Question 2 below.
if you answered YES to Question 1, please move on to Question 3.

2. Was L|oyd J. (“Jody”) LeB|anc iii aware of the existence of the Service I\/iark Lioense

A\gr?'nent prior to November12, 2007?
YES NO

3. On what date was the Servioe i\/iark License Agreement terminated?

` \L , l/W,M("§
/}/§j")i /§i"/‘§§§"’ §§ §§)/ /5¢§§ f

4. Was the |\/|axam independent DistributorAgreement terminated on i\/iay15, 2007?

YES

NO

|f your answer to Question 4 was NO, on what date was the i\/iaxam independent

Distributor Agreement terminated?

 

 

~ft:’)‘§§§§§§/§“/§y»§ § *§§§"§’ §§ §§ § § §§§ §§

 

§§ 3/-»~§ @§Z

 

 

Case 7:O7-oV-00192-HL Dooument 266 Filed 01/23/12 Page 2 of 2

Was Edna LeB|anc aware of the existence

prior to ovember12, 2007?
15 YES NO

____

of the Servioe i\/|ark Lioense Agreement

so sAY wE ALL THis §§ day of January, 2012.

 

FoREPERsoN

,`f#§ "‘?', ‘*

 

 

